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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 CORTNÉ MAREESE ROBINSON,                         §
                                                  §
                 Petitioner,                      §
                                                  §
 v.                                               § CAUSE NO. 1:17-cv-00011-RWS
                                                  §
 BOBBY LUMPKIN, Director, Texas                   §
 Department of Criminal Justice, Correctional     § CASE INVOLVING THE DEATH
 Institutions Division,                           § PENALTY
                                                  §
                 Respondent.                      §


                  OPPOSED MOTION TO SET A BRIEFING SCHEDULE

       On July 31, 2019, this Court ordered Petitioner Cortné Robinson to return to state court to

exhaust available state court remedies with respect to one or more claims contained in his petition

for writ of habeas corpus. Order, ECF No. 67. On November 6, 2020, Petitioner moved to reopen

this case following the completion of state court proceedings to exhaust his claims. ECF No. 79.

Petitioner now respectfully requests that this Court set a briefing schedule that provides the parties

an opportunity to amend their pleadings to reflect the exhaustion proceedings.

       Petitioner proposes the following briefing schedule:

       1. Petitioner shall file an Amended Petition for Writ of Habeas Corpus on or
       before March 6, 2021.

       2. Respondent shall file an answer within ninety days of the filing of the
       Amended Petition.

       3. Petitioner shall file any reply brief within sixty days after the Respondent files
       his answer.
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          It is common for parties to enter briefing schedules following exhaustion proceedings in

state court. 1 The principal purpose of permitting the parties to amend their pleadings is to provide

the parties the opportunity to address the effect of exhaustion proceedings on the claims pled in

the petition and procedural or other defenses pled in the answer. Petitioner submits that the

proposed timeline is reasonable in light of the complexity of habeas doctrine, counsel’s heavy

competing workload demands, and delays caused by working under the conditions of the COVID-

19 pandemic. The proposed briefing schedule is not intended to displace any requirements

contained in this Court’s prior orders, including on page limitations, see Order, ECF No. 34

(imposing 115-page limit on petition). Petitioner also recognizes the limits placed on amendment

by the Antiterrorism and Effective Death Penalty Act (AEDPA), which imposes—among other

provisions—a one-year statute of limitations, see 28 U.S.C. § 2244(d).

          Counsel for Petitioner has conferenced this motion with counsel for Respondent. The

parties could not reach agreement on the terms of the briefing schedule. Respondent indicated that

he would not be opposed to Petitioner’s proposed timeline if Petitioner’s counsel agreed to restrict

the scope of the amendment in advance. Respondent requested that any amendment be limited so

that no new claims or evidence will be presented in the amended petition and that, instead, the

claims will be limited to the effect of the Texas Court of Criminal Appeals’s decision on the current

claims.

          Petitioner agrees that the CCA’s decision is the principal reason for the amendment, and

the requested schedule is necessary for that reason alone. What Respondent additionally seeks,

however, is a vow no ethical lawyer could make. Petitioner cannot be sure whether new facts,



1
  See, e.g., Joint Motion for Proposed Scheduling Order, ECF No. 39, Granger v. Davis, No. 1:17-cv-291-MAC-
KFG (E.D. Tex. Mar. 27, 2020) (parties jointly seeking leave for petitioner to file a second amended petition
following stay and abeyance).


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arguments, or case law may arise that affect his rights. Under professional standards for Texas

capital counsel, Petitioner’s counsel has an ethical obligation to continue investigation. 2

Petitioner’s counsel cannot preemptively waive the introduction of evidence or a potential ground

for relief which may arise in the course of fulfilling counsel’s professional duties and which neither

counsel nor Petitioner is aware of. Therefore, Petitioner respectfully submits that any proposed

limitation on the scope of amendment is premature.

        Since the parties agree that amendment is proper and the timeline is reasonable, Petitioner

respectfully requests that the Court grant the motion.

        A proposed order accompanies this motion.



                                                  Respectfully submitted,

                                                          MAUREEN FRANCO
                                                          Federal Public Defender
                                                          Western District of Texas

                                                           /s/ Joshua Freiman
                                                          JOSHUA FREIMAN
                                                          Assistant Federal Public Defender
                                                          Capital Habeas Unit
                                                          NY Bar No. 5353545
                                                          919 Congress, Suite 950
                                                          Austin, Texas 78701
                                                          737-207-3007 (tel.)
                                                          512-499-1584 (fax)

                                                          Counsel for Petitioner

DATED: November 10, 2020




2
 See Texas Bar, Guidelines and Standards for Texas Capital Counsel, Guideline 11.1(A), 69 Tex. Bar J. 966, 971
(Nov. 2006), available at
https://www.americanbar.org/content/dam/aba/administrative/death_penalty_representation/Standards/State/TX_Bar
_Association_adopted_version_of_ABA_Guidelines.pdf.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of November, 2020, I electronically filed the foregoing

reply with the Clerk of Court using the CM/ECF system which will send notification of such filing

to the following:

                                        Garrett Greene
                                       Stephen Hoffman
                                 Texas Attorney General - Austin
                                      300 West 15th Street
                                    Austin, TX 78701-1220


                                             /s/ Joshua Freiman


                             CERTIFICATE OF CONFERENCE

       I hereby certify that I have complied with Local Rule CV-7(h)’s conference

requirements. The motion is opposed. On Thursday, November 5, 2020, I spoke by telephone

with lead counsel for Respondent, Garrett Greene, to try to obtain Respondent’s agreement to file

jointly a motion to set a briefing schedule. On the telephone call, Mr. Greene indicated he would

not be opposed to a briefing schedule and the proposed timeline contained herein. After I sent the

proposed motion to Mr. Greene, Mr. Greene responded by a November 6 email that Respondent

would be opposed to the briefing schedule unless the motion indicated that no new claims or

evidence will be presented in the amended petition and that, instead, the claims will be limited to

the effect of the Texas Court of Criminal Appeals’s decision on the current claims. As stated in

the body of the motion, the parties could not come to an agreement because counsel for

Petitioner is ethically barred from acceding to Respondent’s terms.


                                             /s/ Joshua Freiman




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